 Case
  Case2:18-cr-00107-APG-GWF
        2:18-cr-00107-APG-GWF Document
                              Document54  Filed05/03/18
                                       50 Filed 05/08/18 Page
                                                          Page11
                                                               ofof
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     WILLIAM H. BROWN, ESQ. (7623)
     THE LAW OFFICES OF
2    WILLIAM H. BROWN, LTD.
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     Las Vegas, Nevada 89104
4
     Tel: (702) 816-2200
5    Fax: (702) 816-2300
     Email: WBrown@LambroseBrown.com
6
     Attorney for Defendant
7    Shakeya Joseph
8
                         UNITED STATES DISTRICT COURT
9                             DISTRICT OF NEVADA
10
     UNITED STATES OF AMERCIA,                     2:18-cr-00107-APG-GWF
11

12
                        Plaintiff,               UNOPPOSED MOTION TO
     vs.                                         MODIFY CONDITIONS OF
13                                                 PRETRIAL RELEASE
14   JEREMY TYSON, DEANDRE                        (REMOVAL OF HOME
     SPENCER, and SHAKEYA                            MONITORING)
15   JOSEPH,
16
                        Defendants.
17

18
           Defendant Shakeya Joseph., by and through her counsel of record, THE
19

20   LAW OFFICES OF WILLIAM H. BROWN, LTD., hereby files this unopposed
21
     motion1 for modification of pretrial release conditions, which seeks
22

23
     specifically to remove the condition of house arrest on the grounds that the

24   ankle monitor required for home detention is interfering with Joseph’s ability
25

26

27
     1 This unopposed motion seeks the same relief on the same grounds as an
28
     earlier motion (EFC No. 49), and therefore renders the earlier motion moot.

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 Case
  Case2:18-cr-00107-APG-GWF
        2:18-cr-00107-APG-GWF Document
                              Document54  Filed05/03/18
                                       50 Filed 05/08/18 Page
                                                          Page22
                                                               ofof
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     to find employment and to obtain public benefits, and that this hardship

2    outweighs any purpose arguably served by requiring continued pretrial home
3
     detention. This motion is made and based upon 18 U.S.C. §§ 3142(c)(3) and
4

5    3145(a)(2), the attached memorandum of points and authorities, the
6
     pleadings and papers on file herein, and any argument to be entertained by
7
     the Court.
8

9         Dated: May 3, 2018
10
          Respectfully submitted,
11
          THE LAW OFFICES OF
12        WILLIAM H. BROWN, LTD.
13
      By: /s/ William Brown
14        WILLIAM H. BROWN, ESQ. (7623)
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          Tel: (702) 816-2200
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          Attorney for Defendant
19        Shakeya Joseph
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  Case2:18-cr-00107-APG-GWF
        2:18-cr-00107-APG-GWF Document
                              Document54  Filed05/03/18
                                       50 Filed 05/08/18 Page
                                                          Page33
                                                               ofof
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1
                MEMORANDUM OF POINTS AND AUTHORITIES

2          The Court should no longer require house arrest as a condition of
3
     defendant Shakeya Joseph’s pretrial release because the ankle monitor
4

5    required to track Joseph’s location is interfering with her ability to find
6
     employment and provide for her family.
7
           Joseph is one of three defendants named in a three-count indictment
8

9    arising from two pharmacy robberies where Joseph was the alleged driver.
10
     The defendants were initially charged in a criminal complaint filed January
11

12
     11, 2018, after which Joseph was released on a PR bond with certain

13   conditions, including home detention. See ECF No. 14. The Court should
14
     remove that condition.2
15

16         Under 18 U.S.C. § 3142(c)(3), this Court may at any time impose
17
     different conditions of release. Joseph reports that the ankle monitor
18
     required for home detention is interfering with her ability to obtain
19

20   employment. Her former employer (Auntie Anne’s3) informed Joseph that the
21
     ankle monitor brought unwanted attention. A prospective employer, (Ever4)
22

23

24
     2 Notably, the defendant who allegedly entered the pharmacies and carried
25   out the robberies (Jeremy Tyson) is not subject to home detention. See ECF
26   No. 19.
     3 A pretzel shop in the Meadows Mall, 4300 Meadows Ln, Las Vegas, NV
27   89107.
     4 A women’s clothing store in the Meadows Mall, 4300 Meadows Ln, Las
28
     Vegas, NV 89107.

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  Case2:18-cr-00107-APG-GWF
        2:18-cr-00107-APG-GWF Document
                              Document54  Filed05/03/18
                                       50 Filed 05/08/18 Page
                                                          Page44
                                                               ofof
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     said the ankle monitor would be a distraction to customers and employees,

2    and to return when it was removed. Also, Joseph reports that Clark County
3
     Social Services has indicated that, as long as she is on house arrest, they
4

5    cannot offer any assistance. The ankle monitor required for home detention is
6
     therefore interfering with Joseph’s ability to find employment and provide for
7
     her family (she has two children, Kayleah (7) and Deandre (2)). She therefore
8

9    asks that the home detention requirement be removed.
10
           The government does not oppose removing the home monitoring
11

12
     condition, and Joseph’s Pretrial Supervision Officer, CJ Kuipers, advised that

13   he will take no position on the issue. In light of the hardship home detention
14
     is causing, the Court should therefore remove it as a condition of Joseph’s
15

16   pretrial release pursuant to its authority under 18 U.S.C. § 3142(c)(3).
17

18

19      IT IS ORDERED that the Unopposed Motion to Modify Conditions of Release
20
     (ECF No. 50) is GRANTED and the conditions of Joseph's pretrial release are
     modified to delete the requirement that she remain on home detention with ankle
21   monitoring.
22
       IT IS FURTHER ORDERED that the Motion to Modify Conditions of Release (ECF
23   No. 49) is MOOT.

24      Dated: May 8, 2018
25
                                                      ____________________________
26                                                    Peggy A. Leen
                                                      United States Magistrate Judge
27

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 Case
  Case2:18-cr-00107-APG-GWF
        2:18-cr-00107-APG-GWF Document
                              Document54  Filed05/03/18
                                       50 Filed 05/08/18 Page
                                                          Page55
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                          CERTIFICATE OF SERVICE

2          I hereby certify that I am an employee of THE LAW OFFICES OF
     WILLIAM H. BROWN, LTD., and that on this date I e-filed and e-served the
3
     foregoing MOTION TO MODIFY CONDITIONS OF PRETRIAL
4    RELEASE (REMOVAL OF HOME MONITORING)
5         Date: May 3, 2018
6
       By: /s/ William Brown
7
           An employee of
8          THE LAW OFFICES OF
           WILLIAM H. BROWN, LTD.
9

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